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502new(2/18)
                                        UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF MISSOURI

                                                                                                      FILED
                                                                                                         5/3/18
                                                                                                   U.S. Bankruptcy Court
                                                                                                  Western District of Missouri

In     Aaron Arlise Roberts and Shanna LaDawn
Re:    Roberts −BELOW MED−                                           Case No.: 17−43022−can13
                                    Debtor(s)

                                  ORDER CONFIRMING CHAPTER 13 PLAN
                                   AS FILED OR AMENDED ON OR ABOUT
                                                 2/26/18

 The court finds that each of the debtor and the amended Chapter 13 plan complies with all applicable requirements of
11 U.S.C. §§ 1322(a), 1322 (b), 1323(c), 1325(a), 1329(a) and 1329(c). It is therefore
       ORDERED, ADJUDGED and DECREED:
1.     The plan is confirmed as amended.
2.     The debtor or any entity from which the debtor receives income shall pay to the trustee according to the terms
of the plan which shall not exceed 5 years. Payments shall continue until further order of this court. The trustee may
cause a wage order to be issued to the debtor's employer. 11 U.S.C.§ 1322(a)(1), 1322(d), and 1325(c). Local Rule
3083−1(F)(1).
3.     Payments to all creditors shall be made according to the terms of the plan, Local Rules of this Court, the
trustee's notice to allow claims, the trustee's notice to allow additional or amended claims, and further orders of the
court. The trustee shall only make payments to creditors with filed and allowed claims. 11 U.S.C. § 1326(c), Local
Rule 3084−1, and Local Rule 3085−1.
4.     Priority claimants shall be paid in full pursuant to 11 U.S.C. § 1322(a)(2).
5.     The trustee shall be paid in full pursuant to 11 U.S.C. § 503(b), 1326(b)(2) and 28 U.S.C. § 586(e)(1)(A) and
(B).
6.     The debtor shall report to the standing trustee any events affecting disposable income, including but not limited
to: tax refunds, inheritances, prizes, lawsuits, gifts, etc., which are received or receivable during the pendency of the
case.
7.     The debtor shall not incur any additional debts while this case is open without prior approval of the court
except those which may be necessary in an emergency for the protection and preservation of life, health, or property.
The trustee may grant borrowing requests pursuant to Local Rule 3088−1.
8.     Until the case is closed, the debtor is enjoined and prohibited from selling, encumbering, or in any manner
disposing of assets without the prior order of the court except as may be required in the course of the debtor's
business if the debtor is engaged in business. The debtor may, without court order, sell unencumbered property which
has not had a lien avoided as part of this proceeding with a fair market value less than $3,500.00 so long as, within 10
days of the sale, the debtor files with the court an accounting of said sale.
9.    Title to the property of the estate vests in the debtor(s) or as specified in the plan. 11 U.S.C. § 1327(b).
10. Confirmed plans may be amended pursuant to 11 U.S.C. § 1329 and may be amended to comply with 11 U.S.C.
§ 1322(d).
11. Funds paid into the trustee's office in a confirmed plan prior to the case being dismissed shall be distributed
pursuant to the confirmed plan and this confirmation order.
12. If the Plan included requests within Parts 3.2, 3.6, 3.7, or 6, the following paragraph(s) apply.


The debtor seeks to assume or reject executory contracts or unexpired leases as set forth in Part 6 of the Plan.
The Court hereby approves any such assumption and/or rejection as set forth in Part 6 of the Plan


Dated: 5/3/18
                                                                      /s/ Cynthia A. Norton
                                                                     UNITED STATES BANKRUPTCY JUDGE
